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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                             District of NewDistrict
                                              __________     Mexicoof __________

                  United States of America                      )
                             v.                                 )
                         Patrick Beck                           )      Case No. 0-
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 May 29, 2022                in the county of               Bernalillo      in the
                       District of       New Mexico         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 USC 875                                   Interstate Communications

18 USC 2261A                                 Stalking




         This criminal complaint is based on these facts:
See affidavit, attached hereto and incorporated herein.




          Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                          Eric Bruce, Special Agent
                                                                                             Printed name and title

Submitted
Sworn to beforeelectronically    and
               me and signed in my     Sworn telephonically before me
                                   presence.


Date:     January 31, 2023
                                                                                               Judge’s signature

                                 Albuquerque, New Mexico
                                                                        Karen B. Molzen, U.S. Magistrate Judge
City and state:
                                                                                             Printed name and title
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


 IN THE MATTER OF THE ARREST OF                     Case No.     0-
 Patrick BECK

                                                    Filed Under Seal



                                  AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR AN ARREST WARRANT
              I, Eric Bruce, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for an arrest warrant for Patrick

BECK for violations of 18 U.S.C. § 875(c) (Interstate Communications) and 18 U.S.C. §

2261A(2) (Stalking). A detailed description of the subject to be arrested is contained within

Attachment A.

       2.       I am a Special Agent with the Federal Bureau of Investigation (FBI), and have

been since January, 2019. While employed by the FBI, I have investigated federal criminal

violations related to high technology or cybercrime, including violations involving cyberstalking.

I have gained experience through training and everyday work relating to conducting these types

of investigations. Prior to becoming a Special Agent of the FBI, I earned Bachelor’s degrees in

Mathematics and Economics and a Master’s degree in International Affairs. Moreover, I am a

federal law enforcement officer who is engaged in enforcing the criminal laws, including those

listed above, and I am authorized by the Attorney General to request an arrest warrant.

       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended
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to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        4.       Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. § 875(c) (Interstate

Communications) and 18 U.S.C. § 2261A(2)(A) (Stalking) were committed by Patrick BECK.

                                         PROBABLE CAUSE

                                        Background & Terms

        5.       IP Address: An Internet Protocol address (or simply “IP address”) is a unique

numeric address used by computers on the Internet. An IP address is a series of four numbers,

each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to

the Internet must be assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. Most Internet service

providers control a range of IP addresses. Some computers have static—that is, long-term—IP

addresses, while other computers have dynamic—that is, frequently changed—IP addresses.

        6.       18 U.S.C. § 875(c) criminalizes conduct by which someone “[…] transmits in

interstate or foreign commerce any communication containing any threat to kidnap any person or

any threat to injure the person of another […]”

        7.       18 U.S.C. § 2261A(2) criminalizes conduct by which someone “[…] with the

intent to kill, injure, harass, intimidate, or place under surveillance with intent to kill, injure,

harass, or intimidate another person, uses the mail, any interactive computer service or electronic

communication service or electronic communication system of interstate commerce, or any other

facility of interstate or foreign commerce to engage in a course of conduct that— (A) places that

person in reasonable fear of the death of or serious bodily injury to a person […] or (B) causes,

attempts to cause, or would be reasonably expected to cause substantial emotional distress to a
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person described in clause (i), (ii), or (iii) of paragraph (1)(A) [That person, an immediate family

member, a spouse or intimate partner, or the pet, service animal, emotional support animal, or

horse of that person] [.]”

                                 Criminal Acts by Patrick BECK

                                Summary of Investigation to Date

       8.       On or about May 7, 2022, I identified a complaint filed by DW, a resident of

Texas, with the Internet Crime Complaint Center (IC3). The IC3 is a government organization

that supplies the public with a reporting mechanism to provide information to the FBI regarding

suspected internet-facilitated criminal activity. In the complaint, DW alleged she was being

stalked, harassed, and threatened by Patrick BECK, a resident of Albuquerque, New Mexico.

DW alleged BECK used online social media to send her threatening and harassing messages as

well as make public posts about her.

       9.       I communicated with DW via email regarding the complaint. DW further

explained that BECK had been “catfished” online by someone using her publicly available

photos. I understand the term “catfish” to refer to the use of photos belonging to another person

to trick someone into an online relationship. DW was a model on Instagram and made pictures of

herself publicly available. According to DW, BECK identified her real accounts, became

obsessed with her, and believed they had been married. DW did not know BECK and did not

have a relationship with him. When DW told BECK to stop contacting her, BECK started

sending harassing and threatening messages. This conduct continued for approximately a year.

DW also explained that her friend, DW21, a resident of Grand Rapids, Michigan, had become the

target of abuse as well.

       10.      Following my communication with DW, I identified a complaint, filed by DW2

on or about February 8, 2022, with the FBI’s National Threat Operations Center (NTOC). in the
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complaint, DW2 alleged that BECK targeted him because he was associated with DW on social

media. In multiple communications with me via phone and email, DW2 provided information

about other individuals who had been harassed by BECK over the years, including several of

BECK’s family members. DW2 alleged that BECK’s behavior was driven by his interactions

with DW.

       11.     On or about May 18, 2022, DW2 contacted me by phone and informed me that

DW had died, apparently of suicide, some days prior. DW2 opined BECK’s ongoing harassment

of DW may have contributed to her suicide.

       12.     On or about June 2, 2022, I reviewed screenshots of communications provided by

DW2 and identified multiple communications accounts allegedly operated by BECK. I reviewed

the contents of the direct messages and public posts contained in the screenshots and identified

dozens of messages of a harassing and/or threatening nature directed to DW or DW2. I identified

several online social media accounts allegedly operated by BECK including accounts on Twitter,

Facebook, and Instagram.

       13.     According to DW2 and SB, BECK used the Instagram accounts “@boss.glass”

and “@hypnotripdj” to send harassing messages and public posts. On or about June 24, 2022,

Meta Platforms, Inc. (“Meta”) was served with a search warrant, issued in the District of New

Mexico and signed by Magistrate Judge Karen B. Molzen for records related to these accounts.

Meta provided responsive records on or about June 27, 2022.

       14.     Included in records provided by Meta was account subscriber information and

verified phone numbers. The phone number 505-979-8906 was listed as a verified phone number

for the accounts “@boss.glass” and “@hypnotripdj”. Meta described a “verified” phone number

as one for which “the account holder responded to a text sent to the listed phone number.”
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       15.       On or about June 28, 2022, I researched the phone number 505-979-8906 in

public source databases. I identified public records indicating the number was associated with

BECK since at least June 2014 through May 2022 with no other registrants listed. I also found

the phone listed as the contact number for the business “Waking Glass” on Facebook. I am aware

that Waking Glass is a business name used by BECK for glass-blown art pieces.

       16.       On or about June 1, 2022, I received a New Mexico driver’s license photo of

BECK from the FBI Albuquerque operations center. The Facebook account for “Waking Glass”

included multiple photographs of an individual I recognized to be BECK from the driver’s

license photo.

       17.       On or about June 23, 2022 I reviewed the public posts on the accounts

“@boss.glass” and “@hypnotripdj” and identified multiple selfie-style photographs of a person I

recognized to be BECK along with photos of glass art purportedly made and sold by BECK. I

also observed multiple posts regarding BECK’s supposed campaign to be the next President of

the United States and a “Warp Speed Formula” supposedly developed by BECK.

       18.       Included in information provided by Meta were records of IP addresses used to

log into the accounts. On June 23, 2022 both “@boss.glass” and “@hypnotripdj” were logged

into from the IP address 174.28.184.16 at 7:27pm UTC. I researched the IP address

174.28.184.16 and found it to geo-locate to New Mexico in publicly available databases. Both

accounts were logged into on a range of dates from IP addresses that also geo-located to New

Mexico, where BECK resides.

       19.       I reviewed information about public posts made by BECK on the Instagram

accounts. I found numerous posts indicating an obsession with DW and SB. For example, the

following public post was made regarding DW2 on or about February 28, 2022:
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             a.

       20.        On or about June 28, 2022, I interviewed MW, a resident of Oregon and former

organizer of a traveling US based trade show, BUSINESS 1. MW described receiving threats

from BECK via text message in approximately August 2021. MW provided me a screenshot of

the threatening messages which read “I hope they aren’t your friends anymore. I’m ‘firing them’.

Well they won’t be your friends anymore because they’ll all be dead. The [BUSINESS 1] boss

glass massacre. Let’s see how the[y] talk with a bullet in their skulls.” Based on my

conversations with MW, SB, and others, I understand “boss glass” to be a moniker used by

BECK. The threatening messages were sent from phone number 505-979-8906.
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       21.     On or about June 28, 2022, I interviewed KP, a relative of BECK’s residing in

White Rock, New Mexico. KP describing being very afraid of BECK. KP and her husband had

recently installed security systems and reinforced the locks on their house because they were

afraid BECK would break in and hurt or kill them. KP was aware of BECK making previous

claims of wanting to die from “suicide by cop”. KP thought BECK might have access to firearms

and was afraid that BECK was going to do something to hurt someone. KP thought BECK’s

behavior had become more irrational in the months prior to the interview. KP provided contact

information for KP2, her daughter, who had also been harassed by BECK.

       22.     On July 1, 2022, the FBI executed a search warrant for BECK’s residence and

person. The FBI seized BECK’s iPhone and I conducted a search of the device pursuant to

another search warrant on July 6, 2022. I reviewed the contents of the device and identified

thousands of text messages and social media messages stored on the device.

                    BECK’s Threats and Course of Conduct Related to KP2

       23.     On or about July 12, 2022, I interviewed KP2, a resident of Portales, New Mexico

and a relative of BECK’s. KP2 described being afraid of BECK and that BECK had threatened

to kill KP2 and her family on multiple occasions in the past. KP2 was familiar with BECK’s

mental health issues and thought they had gotten worse. KP2 recalled an incident in which

BECK attempted to throw her off a second-story balcony in approximately 2015. KP described

going through significant emotional distress as the result of BECK’s conduct. KP2 bought a gun

to protect herself from BECK.

       24.     KP2 provided the FBI with screenshots of threatening communication made by

BECK. I reviewed messages contained on BECK’s iPhone and found many to match the

screenshots provided by KP2.
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        25.      I reviewed the messages provided by KP2 and the messages in BECK’s iPhone

and identified several threats to harm KP. A representative sample is included below:

        26.      In approximately September 2021, BECK sent KP2 the following string of

messages1:


          “You can run ...But you can't hide ...So you know what we are going to do?! ...No you
            don't...You have no idea...And that is scary...Because before I was not aware...We
          have a different game Not good for you...Yup...Haha...Your fucked... I'm going to stab
           you in your sleep and cut your throat like you did mine. Cut your head off until your
           tongue is left hanging out the side of your head…maybe it’ll get some heads rolling.
                                          No mercy at this point.”

        27.      KP2 highlighted an occasion in December 2021, after receiving these

messages, in which BECK described being on his way to see DW in Texas and that he

might stop by to KP2’s residence. This scared KP2 enough that she called the local

police department and requested extra patrols. KP2 thought that BECK didn’t know

where exactly she lived. KP2 did not know if BECK actually came to town or not.

        28.      In approximately June 2022, BECK sent KP2 the following string of

messages:


           “Stop the witchcraft Bs before I have them all killed ...You know what ...Kill them all
          ...Fuck it ...It'll be funnier that way ...Kids ...Family ...Friends ...Neighbors ...Kill them
                                                        all”

        29.      As described above, I reviewed the contents of BECK’s iPhone and the contents

of messages sent to KP2 on multiple platforms including text message and Facebook messenger.

Between April 12, 2021 and June 24, 2022, BECK sent KP2 approximately 1029 mostly

unanswered messages. When KP2 did respond, it was generally to tell BECK to stop contacting

her. According to KP2, BECK would send her unsolicited messages multiple times a day.




1
 Any typographical or grammatical errors in the messages contained in this section and the sections that follow
are reproduced from the original message content.
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           30.       I reviewed the contents of the messages and identified BECK’s obsession with his

family heritage and his blame for his life problems on KP2 and other family members. Based on

my training and experience, many of BECK’s messages seemed to be detached from reality. A

representative undated sample of BECK’s messages from September 2021 to May 2022 is

included below2:


             “Why are you guys so stubborn. We could have prevented Covid had you guys helped
                me run for President instead of restraining and resisting while torturing and
                                              harassing me.”

                 “[HG]is a know pedophile and child molester as well as a known meth addict and
                 admitted on therapy to using LSD while lying on her job applications. She is a well
                                   known cannibal and dangerous criminal.”

              “I'm starting a war on domestic terrorism. Starting with [HG] and [HG’s husband] as
               well as [SB’s] mom and family. We need to take them out at all costs. They are now
              legally classified as enemies of the state and engaged in combat on American soil to
               support terrorism. They should turn themselves in before I do and they will hunted
                                               like the pigs they are.”

             “You thieves. You nasty slobby thieves. How dare you steal my job and give it to [SB]”

                  “I want your house. It’s mine. If I want all of your properties. It’s mine. Literally”

                “So you need to stop being sensitive because you have no clue how much these
              people are going to attack you. They will find everything you are sensitive about and
                                       attack you 10x what they did me.”

                 “Am I wrong or am I right? I should have killed [HG] in her sleep when I had the
                chance. I knew what she was plotting back then and my life would have been way
              better off without her in it. Even if I would have spend 29 years in prison for murder.
              It would have been worth it to not have to deal with her shit. At least then you could
                                        have justified what you did to me.”

                 “You guys hacked me like fuck. My turn. We have access to the same shit. Now it’s
                                                my turn to attack.”

           31.       Based on these facts, I have probable cause to believe that Patrick BECK engaged

in a course of conduct evidencing a continuity of purpose to harass, intimidate, place in




2
    Notably, this is a sample of hundreds of messages sent by BECK during that time period.
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reasonable fear of death, or cause substantial emotional distress to KP2 in violation of 18 U.S.C.

§ 2261A.

       32.     Based on these facts, I have probable cause to believe that Patrick BECK

transmitted threats to injure the person of another, namely KP2, in interstate commerce in

violation of 18 U.S.C. § 875(c).

                     BECK’s Threats and Course of Conduct Related to SB

       33.     As described above, KP is a resident of Pueblo, Colorado. SB and BECK were

engaged in a romantic relationship from approximately August 2015 to April 2016. SB’s

relationship with BECK was contentious and, after their breakup, SB filed a report with the

Pueblo Police Department alleging BECK had physically assaulted and raped her. The report did

not lead to charges and the FBI did not make a determination regarding SB’s allegations. In an

interview with the FBI, SB described how BECK had harassed her since their breakup via text

and social media.

       34.     SB provided the FBI with screenshots of threatening communications made by

BECK. SB publicly accused BECK of rape and abuse on multiple online forums. SB provided

the FBI with screenshots of messages sent by BECK. In an interview with the FBI, SB described

BECK’s online conduct towards her including threatening text messages, social media messages,

and public posts. SB further described BECK’s use of multiple online social media accounts to

contact her.

       35.     I reviewed the messages provided by SB and public posts on BECK’s Instagram

accounts and identified several threats to harm SB. Of note, the messages demonstrated an

obsession with DW and a belief that SB, KP, HG, and others had conspired to murder DW. All

information available to the FBI at this time indicates DW’s death was a suicide. A

representative sample of BECK’s threatening messages to SB are included below.
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       36.     On or about May 29, 2022, BECK sent the following message to SB:

         “I believe that [SB] had [DW] assassinated. She needs to die in my self defense at this
           point. She is ruthless and never stops seeking vengeance because I left her and her
         daughter after [SB] threatened to murder me and my family, pulled a gun on me, and
         told me if I ever left that she would fuck all of my friends in the glass industry and kill
           my family. They never stopped even after the charges were dropped and they were
            court ordered to stop. She need to be tried for treason, murder, conspiracy with
          intent to commit murder, lying in court, lying in public domain and violating my civil
            rights, and begging a lynch mob. I have every reason to suspect her as the main
             accomplice in the murder of [DW]. She was jealous and egotistical, even after I
                                          stopped blowing glass.”

       37.     The same date, BECK sent the following threatening message to dozens

of his phone contacts:

          “I want [SB] and every single one of her family members and accomplices to die the
                         most pain death than any human has ever died from.”



       38.     On May 30, 2022, BECK publicly posted the following threatening

message to his Instagram account “@boss.glass”:


         “Here is another prediction. Whatever did actually happen to [DW], once I get the full
                                    document, will happen to [SB].”

       39.     SB described receiving constant messages from BECK over the years.

SB would block BECK and he would find a way to continue to message her. SB told

BECK to stop contacting her on several occasions. According to SB, BECK created

numerous social media personas to continue to message or post publicly about her.

BECK posted about her at least until June 13, 2022 when he posted a comment to her

Instagram page calling her a “schizophrenic rapist” and to “kill yourself and get it over

with.” SB previously had suicidal ideations that BECK knew about and she thought he

was trying to get her to go through with it.

       40.     I reviewed copies of messages provided by [SB]. I identified dozens of

harassing or threatening communications sent via a variety of online platforms. A
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representative sample of undated messages and public posts made by BECK are

provided below:


               “Fuck with me and you fuck with my team. The tables turn real quick. I know what
                     you did…I have your address and no one has mine…remember that.”

               “You had better call your people back and apologize to me publicly for humiliating
                            me…before I chop your head off publicly. Olde school.”

                          “Grandpa. Mom. Dad. Brother. Sister. Dead. Legally. Funny”

                                       “Kill yourself and get it over with”

          “I designed the virus to match a certain type of DNA. They teste it and it leaked out of
                        the lab. You made it into my dreams last night. I love you”

               “Prove that I raped you at an event I wasn’t at. While I was in a different country
                  talking to kings and Supreme Court justices as well as embassies as a good
                                              ambassador does.”

           “In Ireland, if I had raped you and you had proof, we would be forcibly married. It’s
                                            history, not a threat.”

                                “Anything I do from here on out is self defense”

           “You have a rape fantasy don’t you! I knew it. Like a stranger or someone you knew
                  who are still in love with [kissing emoji]. You like being tied up too.”

             “She even admitted to having sex with me. And it was so good she labeled it as
           “rape” Multiple times. [laughing emojis] That’s like extra points coming from an ex
                                     girlfriend. She still hasn’t let go.”

         41.       In a follow-up interview with the FBI on August 10, 2022. SB expressed

fear that BECK would retaliate against her if he was ever let out of jail. SB expressed a

desire for BECK to be charged for his conduct.

         42.       Based on these facts, I have probable cause to believe that Patrick BECK engaged

in a course of conduct evidencing a continuity of purpose to harass, intimidate, place in

reasonable fear of death, or cause substantial emotional distress to SB in violation of 18 U.S.C. §

2261A.
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       43.     Based on these facts, I have probable cause to believe that Patrick BECK

transmitted threats to injure the person of another, namely SB, in interstate commerce in

violation of 18 U.S.C. § 875(c).

                     BECK’s Threats and Course of Conduct Related to HG

       44.     On or about July 14, 2022, the FBI interviewed HG, a resident of Longview,

Washington and relative of BECK’s. HG described BECK’s behavioral problems from an early

age. BECK had been frequently violent towards HG and was institutionalized at the age of 13.

BECK had severe mental problems and made threats to HG and HG’s husband frequently over

the years. HG was afraid of BECK and suffered emotional distress from his conduct. HG had

more or less cut off ties with BECK but he continued to contact HG, sometimes with violent

threats. HG had filed multiple police reports over the years and had an active restraining order

against BECK. HG provided the FBI with screenshots of communications received from BECK.

BECK would message HG via text message and Facebook messenger.

       45.     HG described BECK’s longstanding mental health issues and violent tendencies.

When BECK was approximately 13 years old, he physically attacked HG and was placed on a

mental health hold. While he was being held, HG found BECK’s writing detailing how he was

going to kill HG. BECK was placed in foster care after that incident. As an adult, BECK

regularly sent HG threatening and harassing messages. HG applied for a restraining order against

BECK in approximately June 2019 when his behavior escalated.

       46.     I reviewed the messages provided by HG and the messages in BECK’s iPhone

and identified several violent threats to harm HG. Of note, many of the messages were sent only

as recently as mid 2019 as HG had made efforts to block communications with BECK since

filing the restraining order. A representative sample of the messages are included below:
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       47.       On May 28, 2019 HG received the following message from BECK on Facebook

Messenger:


          “I'll cut your throat alright. In public so that everyone can see. No wonder why they
          made me do that…. You get to be murdered by a nigger….Cut you limb from limb…I
          have your address…Before I kill you all with your own guns…Shall I make you shoot
          yourself in the head?...So you have to watch me torture you…So that you know it is
                                    me…You are dead…So fucking dead”

       48.       The following messages to HG were undated Facebook Messenger posts but were

believed by HG to have been sent by BECK to HG between May 28, 2019 and June 2, 2019

                 “Cut her head off…Public execution…I just sentenced you to a beheading.”

          “Fuck you…told you I was going to cut your throat. In your sleep? Nah not this time.
                                That is what is going to happen [HG].”

                  “Your [tongue emoji] is going to be cut off…so you can never tell a soul.”

                                    “You get to be murdered by a nigger”

         “What should we do with your corpse…Scatter the ashes into the ocean in the beach.
                                    I am pissed is what I am.”

             “Shall I make you shoot yourself in the head? Before you go to bed so you have to
                 watch me torture you. so that you know it is me you disrespected cunt.”

             “Cut you limb from limb. Into itty bitty teeny tiny bitty little pieces…Let’s play hard
                                         ball. I have your address.”

          “I would be more scared if I were you [HG]. You are dead. So fucking dead…snap the
                                         neck. Chemical bath.”

       49.       According to HG, these messages were representative of the content she generally

received from BECK. HG took steps to hide her address from BECK and was afraid that he

would physically harm her if he ever discovered where she lived. BECK also made frequent

public posts to HG’s business Facebook page accusing her of abuse and attempted murder. I

reviewed several screenshots provided by HG in which potential customers to her business

alerted her to the public posts being made about her by BECK.

       50.       Based on these facts, I have probable cause to believe that Patrick BECK engaged

in a course of conduct evidencing a continuity of purpose to harass, intimidate, place in
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reasonable fear of death, or cause substantial emotional distress to HG in violation of 18 U.S.C. §

2261A.

         51.   Based on these facts, I have probable cause to believe that Patrick BECK

transmitted threats to injure the person of another, namely HG, in interstate commerce in

violation of 18 U.S.C. § 875(c).

                                             CONCLUSION

         52.   Based on the above information, I submit that probable cause exists to arrest

Patrick BECK, as more particularly described in Attachment A, for violations of 18 U.S.C. §

875(c) (Interstate Communications) and 18 U.S.C. § 2261A(2)(A) (Stalking).




                                           ____________________________________________

                                                  Respectfully submitted,
                                                  Eric Bruce
                                                  Special Agent
                                                  Federal Bureau of Investigation



Subscribed and sworn telephonically or by other reliable electronic means to me on
 January 31
____________________________,      2023


_________________________________________
_______________________________
Honorable Karen B. Molzen, United States Magistrate Judge
UNITED STATES MAGISTRATE JUDGE
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                                  ATTACHMENT A


                                    Patrick BECK
Sex: Male
Date of Birth: 1990
Place of Birth: United States
Height: Approximately 6ft, 0in
Weight: Approximately 155lbs
Address: 2517 Quincy Street NE #E, Albuquerque, New Mexico 87110
